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                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
                                    :
In re:                              :
                                    :
    Kevin Leon Lollar               :  Case No.: 16-05546
                                    :  Chapter 13
       Debtor.                      :  Judge Robyn L. Moberly
                                    :  *********************
                                    :
                                    :

          OBJECTION TO CONFIRMATION OF PLAN (DOCKET NUMBER 2)

       Now comes Nationstar Mortgage LLC ("Creditor") by and through its attorneys, Manley

Deas Kochalski LLC, and objects to confirmation of the Chapter 13 plan of Kevin Leon Lollar

(''Debtor''). For the reasons which follow, confirmation should be denied.

                      MEMORANDUM IN SUPPORT OF OBJECTION

Creditor is a creditor herein secured by a first mortgage lien upon the Debtor's real estate located

at 6525 West 16th Street, Indianapolis, IN 46214. Debtor's Chapter 13 Plan does not list

Creditor's subject mortgage loan as a secured claim and makes no provision for curing the

Creditor's existing arrearage claim nor for the maintenance of post-petition payments. The

arrears amount that Creditor has calculated for inclusion in its claim is approximately $8,768.44.

Upon information and belief, Creditor believes that Debtor still holds an interest in the Property.

As such, Creditor requests that the plan be amended to provide for Creditor's claim or to

surrender said interest.



       WHEREFORE, Creditor respectfully requests the Court to deny confirmation of the

Debtor's proposed Chapter 13 Plan.


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                                          Respectfully submitted,
                                             /s/ Sarah E. Willms
                                          Sarah E. Willms (28840-64)
                                          Edward H. Cahill (0088985)
                                          Adam B. Hall (0088234)
                                          John R. Cummins (11532-10)
                                          Daniel C. Wolters (0076521)
                                          Manley Deas Kochalski LLC
                                          P.O. Box 165028
                                          Columbus, OH 43216-5028
                                          614-220-5611; Fax: 614-627-8181
                                          Attorney for Creditor
                                          The case attorney for this file is Sarah E.
                                          Willms.
                                          Contact email is sew@manleydeas.com




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Objection to Confirmation

was served on the parties listed below via e-mail notification:

   U.S. Trustee, 101 W. Ohio St.. Ste. 1000, Indianapolis, IN 46204, 317-226-6101

   Ann M. DeLaney, P.O. Box 441285, Indianapolis, IN 46244, ECFdelaney@trustee13.com

   Brent Welke, Attorney for Kevin Leon Lollar, Welke Law Office, P.O. Box 55058,
   Indianapolis, IN 46205, brentwelke@att.net


and on the below listed parties by regular U.S. mail, postage prepaid on August 12, 2016:


   Georgenne Lollar and Kevin Leon Lollar, 6525 West 16th Street, Indianapolis, IN 46214



                                                                  /s/ Sarah E. Willms




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